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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6      RHONDA SUE MILLER,

                                   7                    Plaintiff,                           Case No. 4:21-cv-00491-YGR

                                   8             v.
                                         COUNTY OF SONOMA, ET AL.,                           ORDER OF CONDITIONAL DISMISSAL
                                   9
                                                        Defendants.
                                  10

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                                  12          The plaintiff to this action, by and through counsel, has advised the Court the parties have
Northern District of California
 United States District Court




                                  13   agreed to settlement. Based thereon, the matter is DISMISSED WITH PREJUDICE and any hearings

                                  14   and deadlines in this matter are VACATED.

                                  15          It is further ordered that if any party certifies to the Court, with proper notice to all other

                                  16   parties, within ninety (90) days from the date of this Order, that the case should be reopened, this
                                       Order shall be vacated and this case shall be restored to the calendar for further proceedings.
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                                              IT IS SO ORDERED.
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                                       Dated: August 11, 2022
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                                                                                         _______________________________________
                                  20                                                             YVONNE GONZALEZ ROGERS
                                                                                                UNITED STATES DISTRICT JUDGE
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